         Case 1:21-cr-00354-APM Document 1-1 Filed 04/02/21 Page 1 of 8




                                   STATEMENT OF FACTS
        Your affiant, Christopher E. Drabicki, is a Special Agent with the Federal Bureau of
Investigation (FBI) and has been in that position since June 2014. As a Special Agent, I am
authorized by law to engage in or supervise the prevention, detention, investigation, or
prosecution of violations of Federal criminal laws. I am currently tasked with investigating
criminal activity in and around the Capitol grounds on January 6, 2021.
       Unless otherwise stated, the information in this Affidavit is either personally known to
me, has been provided to me by other individuals, or is based on a review of various documents,
records, and reports. Because this Affidavit is submitted for the limited purpose of establishing
probable cause to support an application for an arrest warrant, it does not contain every fact
known by me or the United States. The dates listed in this Affidavit should be read as “on or
about” dates.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around
the U.S. Capitol include permanent and temporary security barriers and posts manned by U.S.
Capitol Police. Only authorized people with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also
closed to members of the public.
        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate
were meeting in separate chambers of the United States Capitol to certify the vote count of the
Electoral College of the 2020 Presidential Election, which had taken place on November 3, 2020.
The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30
p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.
        As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the Capitol building and the proceedings underway inside.
        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however,
shortly around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including
by breaking windows and by assaulting members of the U.S. Capitol Police, as others in the
crowd encouraged and assisted those acts.
       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
            Case 1:21-cr-00354-APM Document 1-1 Filed 04/02/21 Page 2 of 8




Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol
building without authority to be there.
         As detailed below, during the course of the investigation into the events of January 6,
2021, law enforcement learned that THOMAS B. ADAMS, JR. (ADAMS) of Springfield,
Illinois, traveled to the District of Columbia to participate in a rally and protest at the U.S.
Capitol and gained entry inside the U.S. Capitol on January 6, 2021.
       On January 7, 2021, the global news and lifestyle publication Insider published an article
by Abigail Higgins on the internet titled “Men who joined in violently storming the U.S. Capitol
describe a carnival atmosphere inside.” 1
         The article reported that THOMAS ADAMS, 39, traveled from Springfield, Illinois for a
rally at the U.S. Capitol on January 6, 2021, and was one of the first people to set foot in the U.S.
Capitol. The article described ADAMS’ account as follows:
       a.       The article reported ADAMS trampled over police barricades and made his way
                into the halls of government eventually reaching the Senate chamber, where
                lawmakers had been evacuated.

       b.       The article quoted ADAMS describing the events, “It was a really fun time.”
                ADAMS, wearing a President Trump flag around his neck, later showed
                cell phone footage of his escapades to a journalist.

       c.       The article reported ADAMS’ account of the events and was also backed up by
                his video and posts on social media. ADAMS saw people scaling the scaffolding
                on the side of the building and followed them.

       d.       The article reported when ADAMS got to the top, he observed rioters smash a
                window on the building ahead of him and make entry. The same rioters began
                opening doors and letting people inside the U.S. Capitol, including ADAMS.

       e.       The article further reported that ADAMS’ video confirmed his account that there
                was a line of police officers waiting in the hallway to see what the people who
                breached the U.S. Capitol building would do next. The article quoted ADAMS:
                “They weren’t really doing much. A few of them had batons, just waiting to see
                if we'd try to push past them.”


1
 https://www.insider.com/men-who-broke-into-the-capitol-describe-a-carnival-atmosphere-
2021-1.
            Case 1:21-cr-00354-APM Document 1-1 Filed 04/02/21 Page 3 of 8




       f.       The article reported ADAMS followed the mob down the hallway and onto the
                floor of the chamber. Inside, a shirtless man with an animal skin headdress and
                his face painted red, white, and blue stood at the speaker's chair, wielding a
                bullhorn and flexing his biceps.

       g.       In the article, ADAMS was quoted describing the scene as “hilarious.” ADAMS
                continued to film on his phone while people walked up and down the Senate halls,
                taking selfies and calling their families. Others tore drawers open and pulled
                reams of documents out of desks, spreading them over tables and throwing them
                across the floor.

       Your affiant conducted public record database checks which revealed a THOMAS B.
ADAMS JR., (39 years of age), with a last known address including a street name and number
located in Springfield, Illinois (the Residence).

        On January 7, 2021, your affiant conducted a drive-by spot check of the Residence and
observed a 2013 Volkswagen Passat, Illinois license plate number [redacted], parked in the
driveway of the Residence. A check of vehicle registration records revealed ADAMS as the
registered owner of a gray 2013 Volkswagen Passat, Illinois license plate matching that observed
by your affiant and registered to the Residence in Springfield, Illinois.

         On February 4, 2021, your affiant interviewed ADAMS. ADAMS admitted to being at
the Capitol, and in the U.S. Capitol building. ADAMS admitted to being on the floor of the
Senate on January 6, 2021. ADAMS said that the door to the U.S. Capitol building was open
when ADAMS walked in. ADAMS said that he did not realize that things were not peaceful
until after he and his friend walked into the Capitol building over broken glass.

        ADAMS said that after walking into the Capitol building, ADAMS turned around and
realized the person who held the door open was holding a door open that had a broken
window. ADAMS said that he and his friend thought it was supposed to be a peaceful occupy.
Other than to occupy, ADAMS said that he did not go into the Capitol building with an agenda.
They did not try to destroy anything inside the Capitol building, he said.

        ADAMS described the inside of the U.S. Capitol building as “beautiful.” ADAMS said
that he understood that they did not want them inside the building but believed it was a public
access building. ADAMS said he did not realize they had illegally breached the building until he
was walking on glass. By the time ADAMS and his friend got there, he said the door was open
and there were people pouring in. ADAMS said he saw people running into the building and
grabbing stuff to take with them. Once ADAMS saw the doors open, he said he thought they
were going to occupy the building. ADAMS said he thought to himself, “What are they going to
do if a half a million people are here and standing inside of a building and want to be heard?”
ADAMS said he did not know who the “Proud Boys” were until approximately five days before
they arrived. ADAMS said he did know until he got home that a group of black people, calling
themselves the “Not Fucking Around Crew” (NFAC), were also there on that day. ADAMS said
he heard there were possible factions of Antifa that were there that possibly created the problem
that started in the Rotunda.
         Case 1:21-cr-00354-APM Document 1-1 Filed 04/02/21 Page 4 of 8




        ADAMS said he and his friend didn’t walk towards the Capitol until the large group
started walking there. ADAMS said that by the time he and his friend got to the U.S. Capitol,
there was no fenced-in perimeter. When they got closer to the U.S. Capitol building, ADAMS
said he heard concussion grenades going off. When they approached the back steps of the
Capitol building, ADAMS said he observed people crying and dumping water all over
themselves. ADAMS said he recorded videos of himself and his friend inside the Capitol
building. A screen capture of ADAMS’ friend that ADAMS took inside the Capitol on January
6, 2021, with his cell phone showed:




ADAMS identified the photo to your affiant, said that he took it with his own cell phone, and
that it was taken inside the U.S. Capitol and that it depicted his friend who was also present at
and in the U.S. Capitol on January 6, 2021. ADAMS said that he and his friend entered the
building from the back door, where people had breached with window washing equipment.
ADAMS said they were let in the building and then forced out of one of the side doors.

        ADAMS said that the worst thing that he did while he was inside the Capitol building
was to try to find his friend’s glasses on the ground as they were being pushed out of the door.
ADAMS said that his friend got shoved into a female cop by a group of people that were arguing
with the cops. A male cop grabbed his friend’s glasses and ripped them off his face so they
could try and mace him. ADAMS said he attempted to upload a couple cell phone videos he
recorded to his Snapchat account. ADAMS said he heard other people yelling, “Let’s take the
        Case 1:21-cr-00354-APM Document 1-1 Filed 04/02/21 Page 5 of 8




White House,” and “Let’s storm this place and show them they can’t make us leave,” and “They
can’t arrest us all.” Eventually, ADAMS said, they walked up some stairs to get to the Senate
floor. Inside the Senate chambers, ADAMS said he observed other individuals going through
desks and a guy in a Viking hat near the podium leading a prayer.

       ADAMS confirmed with you affiant that he was the person in a photograph inside the
U.S. Capitol building on the Senate chamber floor. ADAMS identified himself as the person in
the photograph below holding the Trump flag on the floor of the U.S. Senate.




        ADAMS said he believed there were some people there that had an agenda, while other
innocent people got caught up in it. ADAMS said he didn’t believe that everyone there should
be in trouble because not everyone did things that were wrong, and some people felt they were
peacefully entering a building. On their way back to ADAMS’ vehicle after leaving the Capitol
building, ADAMS said he and his friend spoke with a journalist, Abigail Higgins. ADAMS and
his friend told Higgins about what they observed inside the Capitol building. ADAMS said he
        Case 1:21-cr-00354-APM Document 1-1 Filed 04/02/21 Page 6 of 8




was not aware that Higgins published an article which quoted ADAMS and his friend and their
account of being inside the Capitol building.

        ADAMS showed your affiant cell phone videos he recorded with his cell phone of the
outside and inside of the U.S. Capitol building on January 6th, 2021. ADAMS signed a consent
form and produced a wooden dowel rod that ADAMS said was his friend’s, for the purpose of
affixing a Trump flag to it with zip ties, and a blue “Trump 2020” flag that ADAMS stated he
wore around his neck while he was inside the Capitol building.

       Your affiant reviewed ADAMS’ driver’s license photograph, social media posted
photographs, and photographs and videos identified by ADAMS. All images appear to depict
the same individual known to your affiant as THOMAS B. ADAMS, JR.
        On February 4, 2021, your affiant seized ADAMS’ cell phone pursuant to a search
warrant. The cell phone was the same cell phone identified by ADAMS as the one he used in the
U.S. Capitol. A subsequent analysis of ADAMS’ phone revealed the following still shot images
of a video in ADAMS’ cell phone inside the Chambers of the Floor of the U.S. Senate.




Also discovered on ADAMS’ cell phone was the following still shot image of a video taken
inside the U.S. Capitol.
         Case 1:21-cr-00354-APM Document 1-1 Filed 04/02/21 Page 7 of 8




Additionally, a still shot image of video found on ADAMS’ cell phone showing the forced entry
into the U.S. Capitol building.




       Based on the foregoing, your affiant submits that there is probable cause to believe that
THOMAS B. ADAMS, JR. violated 18 U.S.C. §§ 1752(a)(1) and (2), which make it a crime to
(1) knowingly enter or remain in any restricted building or grounds without lawful authority to
         Case 1:21-cr-00354-APM Document 1-1 Filed 04/02/21 Page 8 of 8




do so; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of
Government business or official functions, engage in disorderly or disruptive conduct in, or
within such proximity to, any restricted building or grounds when, or so that, such conduct, in
fact, impedes or disrupts the orderly conduct of Government business or official functions or
attempts or conspires to do so. For purposes of Section 1752, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be
temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.
       Your affiant submits there is also probable cause to believe that THOMAS B. ADAMS,
JR. violated 18 U.S.C. § 1512(c)(2), which make it a crime to corruptly (2) otherwise obstruct,
influence, or impede any official proceeding, or attempts to do so.
        Finally, your affiant submits there is also probable cause to believe that THOMAS B.
ADAMS, JR. violated 40 U.S.C. §§ 5104(e)(2)(D) and (G), which make it a crime to willfully
and knowingly (D) engage in disorderly or disruptive conduct, at any place in the Grounds or in
any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly conduct of
a session of Congress or either House of Congress, or the orderly conduct in that building of a
hearing before, or any deliberations of, a committee of Congress or either House of Congress,
and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                             _________________________________
                                             CHRISTOPHER E. DRABICKI
                                             SPECIAL AGENT, FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 2nd day of April 2021.

                                             ___________________________________
                                             HON. ROBIN M. MERIWEATHER
                                             U.S. MAGISTRATE JUDGE
